              Case 2:09-cr-00380-WBS Document 134 Filed 09/16/11 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
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 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EMILIANO VERA-GIL
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      )       CR NO. S-09-CR-380 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              )       [PROPOSED] ORDER CONTINUING
                                                    )       SENTENCING
12
     v.                                             )
                                                    )       Date: December 5, 2011
13
     EMILIANO VERA-GIL,                             )       Time: 8:30 a.m.
                                                    )       Judge: Hon. William B. Shubb
14
                                                    )
            Defendant.                              )
15
                                                    )
                                                    )
16
                                                    )
17
     The parties hereby stipulate the following:
18
            1. Judgment and sentencing in this matter is presently set for October 3, 2011. Counsel
19
                for the parties requests that the date for judgment and sentencing be continued to
20
                December 5, 2011 at 8:30am.
21
            2. The parties requests that the court adopt the following schedule pertaining to the
22
                presentence report:
23
                Judgment and Sentencing date:                                     12/5/11
24
                Reply, or Statement of Non-Opposition:                            11/28/11
25

26              Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
27              Probation Officer and opposing counsel no later than:             11/21/11
28




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            Case 2:09-cr-00380-WBS Document 134 Filed 09/16/11 Page 2 of 3


               The Presentence Report shall be filed with the Court
 1
               And disclosed to counsel no later than:                       11/14/11
 2
               Counsel’s written objections to the Presentence Report
 3             Shall be delivered to the probation officer and opposing
               Counsel no later than:                                        11/7/11
 4

 5             The proposed Presentence Report shall be disclosed to
               Counsel no later than:                                        10/24/11
 6

 7
     Dated: September 15, 2011                                  /s/ John R. Manning
 8                                                             JOHN R. MANNING
                                                               Attorney for defendant
 9                                                             EMILIANO VERA-GIL
10

11                                                             Benjamin B. Wagner
                                                               United States Attorney
12

13   Dated: September 15, 2011                                  /s/ Michael M. Bckwith
                                                               MICHAEL M. BECKWITH
14                                                             Assistant United States Attorney
15

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              Case 2:09-cr-00380-WBS Document 134 Filed 09/16/11 Page 3 of 3


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                              IN THE UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                     ) CR NO. S-09-0380 WBS
10                                                 )
                                                   )
             Plaintiff,                            ) ORDER CONTINUING SENTENCING
11
                                                   )
12   v.                                            )
                                                   )
13   EMILIANO VERA-GIL,                            )
                                                   )
14                                                 )
             Defendant.                            )
15                                                 )
                                                   )
16                                                 )

17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and
19
     sentence of defendant Emiliano Vera-Gil be continued from October 3, 2011 to December 5,
20

21
     2011. The court hereby adopts the schedule concerning the presentence report as stipulated to by

22   the parties and set forth herein.
23   DATED: September 15, 2011
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